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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                          *
                                       *
     v.                                *      CRIM. NO. 20-474
                                       *
Evens J. Lavarin, a/k/a "Bleek"        *
                                       *
                                     *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
                     FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

         That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

See Attachment A



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:                                                                      October 19, 2020
                                                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
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                                  Attachment A
The Court finds that the sentencing hearing to be held today cannot be further
delayed without serious harm to the interests of justice, for the following
reasons:
      1. To ensure that the Court is not overwhelmed by cases and
         proceedings at the conclusion of this period of emergency. Currently,
         District Judges in New Jersey handle a substantially larger docket of
         cases than Judges in other Districts in the United States. New
         criminal cases continue to be assigned by the court during the
         emergency. If the Court cannot resolve matters by guilty plea and
         sentencing, the resulting backlog will overwhelm the court’s ability to
         effectively function. The concern of such congestion and the
         particular harm that likely will be caused by delays in the processing
         of cases and matters in the future is particularly acute in this
         emergency, at least given that: (1) it is unknown when this emergency
         will subside and when the Court will be able to function at normal
         capacity (including, among other things, the empanelment of trial
         juries) and (2) this District’s pre-existing shortage of District Court
         Judges which already has challenged the Court’s ability to process
         and resolve cases. This District has six District Judge vacancies: two
         have been pending for more than five years; one has been pending
         almost three years; two have been pending for more than a year; and
         one has been pending almost a year. The Federal Judicial Conference
         has deemed the District’s six vacancies judicial emergencies.
      2. To permit the defendant to obtain a speedy resolution of his case
         through timely sentencing to afford appropriate punishment and
         rehabilitation, the defendant has asked for this case to be resolved
         today.
      3. To permit the Government to obtain a resolution of the case so that
         the Government, already operating in a restricted capacity due to the
         emergency, may appropriately focus its resources on other, emerging
         criminal matters. The Government has asked for this case to be
         resolved today by a sentencing hearing.
      4. Finally, at this time, the Court cannot accurately predict where the
         defendant’s case will be prioritized within that backlogged docket. As
         a result, the defendant’s interest in a speedy resolution of his case will
         be seriously harmed if the proceeding does not occur today.
